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1 IN ‘I'I-IE UNI'I'ED S'I'A'I`ES DIS'I'RICI' COURT
NORTHE`.RN DISTRICI' OF ILLINOIS
2 EAS'I'ERN DIVISION
3 COl\/MITI'EE FOR A FAIR AND BALANCED )
MAP, et al. , )
4 )
Plaintiffs, )
5 )
vs. ) NO. 11 C 5065
6 )
ILLINOIS S'I'ATE BOARD OF ELECI'IONS, )
7 et al., ) Chicago, Illinois
) October 20, 2011
8 Defendants. ) 9:30 A"M.
9 'I`RANSCRIPI' OF PROCEIEDINGS - MOtiOn
BEFORE 'I‘I-]E HONORABLE JOAN HU]V]PI-]REY LEFKOW
10
APPEARANCES:
11
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EXHIB|T

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(Proceedings had in open court.)

THE CLERK: 11 C 5065, Committee For.A Fair And
Balanced Map versus Illinois State Board of Elections.

MS. LIGHTFOOT: Good morning, your Honor. Lori
Lightfoot and Tom Panoff on behalf of the plaintiffs.

THE COURT: Good morning.

MR.`BRUCE: Good.morning, your Honor. Devon Bruce on
behalf of the defendants.

THE OOURT: Good morning.

MR. RQSENBLATT: Good morning, your Honor. Jon
Rosenblatt from the Office of the Illinois Attorney General on
behalf of defendants.

THE COURT: Okay. Good morning.

All right. The Committee wants to take three
depositions. And.the issues are timeliness and relevance.

MR. BRUCE: Timeliness, relevancy, and prejudice, your
Honor.

THE COURT: And.prejudice. Okay.

Well, let‘s start with the movants.

MR. BRUCE: Certainly; Brieflyg your Honor, we
had.-- you had issued an order originally, or the panel had, on
October -~ that all fact discovery was required to be done. In
fact oral depositions by October Bth. That was then extended
by your order, and that was extended to October 19th.

Now taking a step back, the plaintiffs, we asked them

 

 

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who they were going to call at trial, and they identified 28
witnesses. Andq you know, to be honest, JUdge, we have been
very diligently trying to depose all those people.

1 have tried to understand.from the plaintiffs who
they are going to call at trial. Some of those people they
have said they are going to withdraw. And.we have taken -- and
I listed all -- a number of those depositions that we have
taken.

Three of them, due to the plaintiffs‘s own schedules,
couldn't get scheduled within that time period. And for those
three as -- out of professional courtesy for the plaintiffs, we
said, fine, we'll take those beyond the 19th date.

We at no time ever said we would be willing to get new
witnesses which.have never been identified. Congressman
Jackson, Mayor Larry Morrissey, and Congress -» Former
Congressman Lipinski have never at any time been identified in
their answers to interrogatories as trial witnesses.

And.your order required them to answer interrogatories
by September 17th, and they did. They have never amended
that. They, to my knowledge, as they stand.here today, they
have identified these people as witnesses at trial.

Now with that in mind, we are trying to get all these
done by the 19th. We had Congressman Costello's deposition
yesterday at ~- the end of it.

And on Friday afternoon we get word from plaintiffs's

 

 

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counsel for the first time that they want to take Lanng
Morrissey’s deposition in Rockford. For the first time they
want to take the deposition of Congressman Jackson. And.they
want to take Congressman -- Former Congressman Lipinski‘s
deposition. We hear about that on Monday, keeping in mind the
deadline that this Court has already extended once, ends on
Wednesday.

All of the dates that they are suggesting are far
beyond the date that you have ordered, your Honor. And.they
are doing this without leave of Court. They are totally doing
this in violation of court order. And.nothing in their
response in any way provides a rationale for that.

l want to get to that timeliness issue. On the
timeliness issue, from what 1 read of their response, they are
saying -~ and.l think this is very telling -- they are saying
these people's names just came up in the discovery deposition
transcripts and, therefore, we just found about them. And they
just came up in the deps, and now we want to take their
depositions.

I have two responses to that, Judge, because I have
taken every one of their -- plaintiffs's United States
congressmen's depositions where these names -- where they want
to talk about came up.

First of all, they came up in their own clients‘s

depositions. They claim that this is not something where l am

 

 

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putting forth a witness, and they take Mr. Smith's deposition
and they heard about Mrs. Jones. 1his is not the fact
pattern. These are their witnesses, their clients.

And, shockingly, what we're finding out in this case
is Mayer Brown was hired in this case before the map was even
passed. That's what Congressman Shimkus told me. Long before
-- Congressman Shimkus is the one that first raised in the
discovery depositions Congressman Lipinski's name. But h --
he -- they were -- Congressman Shimkus knew back in April when
this all came up in.April. 1f they -- they knew about him.

So it isn't -- that‘s a complete red herring to say,
oh, well, they came up in our own clients‘s deps, and now we
want to violate the Court's order without leave of Court when
we want to take this man’s deposition.

Now with respect to Larry Morrissey's, there is ~- 1
looked last night before coming over here. There is a June 5th
Rockford Register Star front page article in the Rockford
Register Star where Larry Morrissey, who is the mayor of
Rockford, is in the same article as their client Don Manzullo,
Congressman Don Manzullo. And.he is expressing whatever his
opinions are, as if it matters, respectfullyg whether Mayor
Morrissey, who has nothing to do with drawing a map. Whatever
Mayor Morrissey *~ but it is in there on June 5th.

And Congressman Manzullo in his dep, you know,

Morrissey's name has come up, and Congressman Manzullo said, 1

 

 

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talked to Larry Morrissey right after -- he is outraged --
right after the map came out, which is consistent with the June
Eth -- you know, they know about these people, Judge, for
months -- months, literally, months before we even started
fact -- written discovery.

Now with respect to Congressman Jackson, he has been
very vocal. First of all, his name has come up, as they point
out in their response, and all of their clients‘s depositions,
his name has come up, your Honor. Again, that’s knowledge that
they had long before the map came up.

But more importantly, they are citing newspaper
articles from -- of Congressman Jackson from September, from
September. So why am 1 hearing now on, you know, three
business days -- Friday afternoon is when they say they are
going to -- they want Jackson. They are not identifying him as
a witness, They are saying, we want to go and take his
deposition on very short ~- Friday, Monday, Tuesday,

Wednesday -- so three business days before your deadline
expires when they -- whey they are saying in the response, our
reasoning is we knew about it in September.

Your Honor, we're trying --

THE COURT: You have got about two more minutes.

MR. BRUCE: Okay. So that's the issue on timeliness.

THE COURT: Hold on a second.

THE CLERK: 1f he could just slow down because -~

 

 

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THE COURT: Oh, right.

Can you keep up with him?

'IHE} CLERK: 1 Can't even --

MR. BRUCE: 1 was trying to hurry up. 1 know you have
got a courtroom full of people.

MS. LIGHIHJUT: Ms. Warren is very able.

MR" BRUCE: So with respect to prejudice, with respect
to the relevancyg your Honor, 1 don't think we need to go
there. 1 think we win hands down on timeliness.

But on -~ in.terms of relevancy, this Court has
recognized, and 1 started -- and 1 -~ that a lot of this is
decided on expert discovery. And.when this came up the last
time, Ms. Lightfoot identified, you know, some of these people
may talk about the -- how they actually intend.-- you know,
they are actually the map drawers. None of these people are
the actual map drawers, but 1 don't think we need to go there.

And.then, lastlyy and 1 think importantly, is
prejudice. Your Honor, if they are allowed to go and take
this, when does it end? Okay? Do 1 then get the opportunity
to listen to what these people have to say, and then -- for
example, what if Congressman Jackson says something that we
want to refute or contend with? Do 1 then call named ~~
Congressman Davis and go and take Congressman Danny Davis's?

And.what -- you know, what about, you know, Tim

Johnson, Representative Tim Johnson? 1'd want to go and take

 

 

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his.

1 mean, this just goes on and on and on. rfhat's why
we have deadlines, and that ' s why we have been trying to
comply.

And, lastly, and 1 think this is important, and we
would also, 1 would submit, and 1 put this in my papers, we may
or may not, depending on what they say, submit that to the
experts in this case. And our main expert is going as soon as
we walk out of this courtroom. And so -~ and we have got to
submit that. And then they -- then they are going to say, we
want to go take the dep. And then we -- and why is it
relevant?

And so, lastly, your Honor, and this is an issue that
1 saw at the end of their response, which 1 thought was kind of
shocking and -- 1'll finish with this. They seem to be
suggesting in their papers that by now throwing out subpoenas
in violation of this court order, that that is in some way a
supplement to their answers to interrogatories which were due
by court order on September 17th, and that now they are going
to call these people at trial. Should you grant my motion,
they are going to call them as trial witnesses even though they
have never told me that they are trial witnesses, And 1 can't
depose them.

1 mean, so that seems to be suggesting they're, again,

asking this Court to -- 1 mean, they are willy-nilly violating

 

 

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your court orders. 1 mean, that's shocking.

So 1 would suggest, your Honor, and we would
respectfully request, that we stop the oral fact discovery,
with the exception of ones -- and I'm not ~- 1 did say that 1
don't have a problem with taking these people because, you
know, we're trying to work together and get them done. These
people can!t -~ these other ones 1 never said at any time
unidentified people who have never been identified we're going
to go on.

So that's -- thank you, your Honor.

THE coURT; A11 right, MS. Lightfoot.

MS. LIGHTFCOT: Very briefly, your Honor. Here the
practical issue is this. One, 1 want to address a couple
points that Mr. Bruce, 1 think, got wrong.

One is if you look at the scheduling order, the time
in which trial witnesses have to be identified is November
7th. What they did is they served us with typical discovery
saying, who do you know who has information about it? And we
answered it whenever we answered it.

We have supplemented it. And 1 suspect we will
probably supplement it again, We have a continuing obligation
to do so.

But the truth is the real date when people make
decisions as to when they are going to have witnesses for trial

is November 7th, which is the date in which the pretrial order

 

 

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is due.

We're sill sorting through a lot of different
information. And.I don't think the scheduling order -- and,
franklyy in.20-plus years of practicing in front of this Court,
1 don't think that the -- a schedule of -- interrogatories or
discovery that‘s served ahead of time says that three, four
months out from when your trial is, do you have to identify
every single witness that you're going to possibly call at
trial, particularly when you don't know that.

The issue that they --

THE COURT: Okay. Well, tell me how important it is
that you get these witnesses.

MS. LIGHTFOOT: Well, 1 mean, here is the practical
issue, your Honor. We could have simply gotten affidavits from
these witnesses and attached them to our permanent injunction
motion, and.then we would have heard a similar kind of hue and
cry about prejudice, surprise, oh, my God, this is terrible,
they should be stricken.

We thought the better course, frankly, because we
generally actually have been getting along fairly well, was to
notice them up, give everybody an opportunity to ask whatever
questions that they wanted, and then proceed that way, rather
than simply affixing a detailed affidavit from a witness that
neither side had previously deposed.

And.if they want it that way, we can have it that

 

 

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way, But it didn't seem to make practical sense for us
because, frankly, we anticipated a bunch of motion practice
about that .

But to your issue of how important are they, let me
run through this, Number one, with respect to Mayor
Morrissey -- and also let me just preface this by saying this:
These are three ~- two current and one former elected
official. Franklyy we were giving some deference and respect
to them. We didn't want to -~ yeah, we -- Congressman
Lipinski‘s name had surfaced before, but we felt like because
we anticipated.getting a motion like this, we wanted to have a
good faith basis before we, frankly, called him in and wasted
his time.

So once we got the deposition testimony, the last of
which was on October 10th, 1 made arrangements to talk to
Congressman Lipinski to understand what he would say and made
the determination at that point that we would in fact depose
him.

And then we were going back and forth with him as a
courtesy to figure out if there is a convenient time. He said,
1 don't want a subpoena, just let me know if you want me, and
1'll show up whenever. That's what we did.

1he next -- and then we traded phone calls back and
forth last week. 1 finally got a hold of him again on Monday.

He tells me Mike Kasper, one of the lawyers for the defendants

 

 

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in this case, would actually be handling things for him.

So 1 promptly sent an email to Mr. Kasper an --

THE COURT: You put that in your motion, But really
I'm focused on proof in the case --

MS. LIGHTFOOT: So -~ understood.

THE COURT: For example, Jesse Jackson has been vocal
in opposition to this map, but he didn't have -- he didn't draw
the map.

MS. LIGHTFOOT: Well --

THE COURT: Every congressman has a political opinion
about it.

MS.LKLTHIE: &ne. 3m lodiae,y@m:Hmmr,if
you looked carefully at what he has said, and we have, and
obviously in talking to our clients what we understand is that
Congressman Jackson actually was involved in aspects of drawing
this map.

And I'm mindful of the Court’s order regarding the
motion to compel where it said, if there are irregularities in
the way in which the map was drawn -- and 1'm.paraphrasing
obviously -- that that's relevant.

We believe that Congressman Jackson will provide us
with information about the manner in which the process was
deviated from the norm that go to this issue of irregularity.

With respect to Congressman Morrissey, 1 believe he

will testify about the community of interest issue, which we

 

 

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did identify in our complaint, and how it is that Rockford is
now divided literally in half between two separate
congressional districts. And.the minority population of
Rockford now is going to be in -- under the adopted.plan going
to be on the ma --

THE CKKEIH Now let's talk about Lipinski.

MS. LIGHTFCOT: And.I think Lipinski definitely goes
directly to the issue of intent. As your Honor knows, we have
alleged in our complaint with respect to Congressional District
3 in the adopted plan, if that was drawn in a way to benefit a
white incumbent. The white incumbent is Congressman Lipinski's
son.

The information has come out through the depositions,
and other information that we have gathered, is that Congress-
-- Former Congressman Lipinski was intimately involved in
figuring out what the actual parameters of that district would
be.

THE COURT: Okay. But how does it affect the
Hispanics? Because we all know that that's what it is all
about is for clarification of --

MS. LIGHTFOOT: 1f affects the Hispanics because, as
we allege in our complaint, and as we allege in our preliminary
injunction, and we allege in our permanent injunction motion,
if you look at the changes between Congressional District 3,

which is on the southern part of the earmuff, and.Cbngressional

 

 

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District 5, which is in the northern part of the earmuff, what
was done in constructing the new Congressional District 4 of
the earmuff was to excise significant portions of the Hispanic
population from CD~B on the south and to super pack them into
CD-4. Same was done with the Hispanic population on the north
in CD-5.

And.we believe not only were they done to pack more
Hispanics into CD-4, but also to take out Hispanic population
from CD-3 and CD-B. And.particularly -~

THE COURT: Do you have any reason to believe that
there would have been a more likely -- a greater likelihood
that Hispanic ~- a second Hispanic congressman or woman would
have been elected in spite of all that?

MS. LIGHI`FOOT: Well --

THE COURT: Is that what you are trying to prove?

MS. LIGHTFCOT: Two things though.

THE COURT: Could have been, not would have been.

MS. LIGHTFCOT: What we believe, franklyy your Honor,
is if you look at the natural population growth in the city and
the county, in the area that CD-3 covered, that the -~ and
unpacking the earmuff, it absolutely would have been close to a
majority or a majority Hispanic district.

Frankly, the alternative CD~B that we had drawn in our
map covers exactly that territory.

THE COURT: Okay. This is my assessment after hearing

 

 

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you and basically what 1 felt after reading. 1 do think it is

untimely. But in light of your -- you know, your really close

or tight schedule here, you know, that ' s a factor. But 1 would
be willing to grant you the two depositions of Mayor Morrissey

and Lipinski.

But as for Jesse Jackson and what -- what you are
saying in your papers is that he has been very vocal about
this, when now you‘re saying that he had something to do with
it. But 1 don't think that -~ you }mow, that's not going to
be -- it is pretty tangential. We have -- remember we have two
days for this hearing.

MS. LIGHTFOOT: Understood, your Honor.

THE COURT: SO -~

MS. LIGHTFOOT: Well, your motio --

MR. BRUCE: And the --

THE COURT: Your motion is granted as to two, and

denied as to Congressman Jackson.

MS. LIGHTFOOT: Actually it would be opposite -_ the
other way --

MR. BRUCE= 1 just ~-

MS. LIGHTFOOT: -- around, your Honor.

'IHE COURT: Sorry?

MS. LIGHTFOOT: 1t is their motion to quas --

1‘HE COURT: Oh, right. Right.

MR. BRUCE: Okay. Can 1 get a couple points of

 

 

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clarification? 1 just want to make sure Ms. Lightfoot and that
-- the plaintiffs's team is not going to be doing this
anymore. They are not issuing --

'IHE: cOURT; okay.

MR. BRUCE: -- anymore subpoenas, and -~ number one.

And¢ number two, is 1 want to be clear that --
something that she said really troubled me. 1 want to be clear
that they are not going to be disclosing, either trying to
throw subpoenas out for people that have not been identified in
answers to interrogatories or they are coming up with new names
of people, because that would be highly prejudicial.

THE COURT: Okay. The ground rule is that you
can't -- you can't name new witnesses and just subpoena them
for court without a deposition.

MS. LIGHTFOOT: Your Honor, you're going to ~-

THE COURT: Okay. We have to stop at some point
because this is going to be a huge amount of material.

1 have already told ~- we have told you that we don't
think these witnesses are going make a heck of a lot of
difference. 1 mean, maybe we're wrong, but that's three judges
who have talked about this and feel that way.

So, you know, you could go on and on and on on this,
bu --

MS. LIGHTFOOT: So you're -~ in other words, you're

going to -- you're telling us that if, for example, we have a

 

 

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witness that has given us information, that we are precluded
from including an affidavit in our permanent injunction motion
from that witness?

Your Honor, given that the scheduling order says that
witnesses have to be disclosed by November 7th, that's th --
that'S the -~

'IHE COURT: Well -~

MR. BRUCE: Your Hono --

MS. LIGHTFOOT: -- date that we have been operating
under.

MR. ROSENBLATT: Your Honor, we asked in interrogatory
for that information. 1f they had that information, they
should have turned it over. And if they are going to now use a
statement without allowing us any opportunity to do discovery
on --

MR. BRUCE; shocking.

THE CDURT: 1 don't know what your -- 1 don't know
what your plan was when you said disclose witnesses by November
7th. 1 would assume that -- 1 mean, typically that means you
have already done the depositions and you have pared down who
the people are that you're going call --

MR. BRUCE: Absolutely.

THE COURT: -- from the discovery you have had,

All right. I'm out of time, so --

MR. ROSENBLATT: Thank you, your Honor.

 

 

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MR. BRUCE: Thank you, your Honor. We appreciate your
time.

MS. LIGHTFOOT: Well, we'll come in on a motion and
revisit this issue, your Honor.

THE COURT: All right.

(Which concluded the proceedings in the above-entitled
matter.)
CERTIFICATE`.

1 HE!REBY CERTIFY that the foregoing is a true, correct

and complete transcript of the proceedings had at the hearing

of the aforementioned cause on the day and date hereof .

/s/Pamela S Vbirren october 21, 2011
official Court Reporter Date
United States District Court

8 Northern District of Illinois

Eastern Division

 

 

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Page 1 Page 3 "
IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS l _ I N D E X
EASTERN DIVISION 2 W1tneSS: Page
COMMITTEE FOR A FAIR AND )
BALANCED MAP’ JUDY BIGGERT’ ) 3 CONGRE:,SSMAN DONALD MANZULLO
ROBERT J. DOLD, RANDY HULTGREN, ) 4 Examlnat10n by :
ADAM KINZINGER, DONALD )
MANZULLO, PETER ROSKAM BOBBY ) 5 Mr' Bruce 4
SCHILLING, AARON SCHOCK, JOHN ) 6
M. SHIMKUS, JOE WALSH, RALPH ) 7
RANGEL, LOU SANDOVAL, LUIS )
SANABRIA MICHELLE CABALLERO, ) 3
EDMUND BREZINSKI, d LAURA
WAXWEILER, "“) ) 9 EXHIBITS
) l
Plaintiff`s, ) 1§ §;l:;:e; :age
vs. ) No.
) 1:11-CV-050065 l 2
ILuNomsTATEBOARDoF ) 13
ELECTIONS, WILLIAM M. ) l 4
MCGUFFAGE, JESSE F. SMART,
BRYAN A. SCHNEIDER, BETTY J. ) 1 5
COFFRIN, HAROLD D. BYERS, ) l 6
JUDITH C. RICE, CHARLES w. )
SCHOLZ, and ERNEST L. GOWEN, ) 1 7
)
Def`endants. ) l 8
The deposition of CONGRESSMAN DONALD 1 9
MANZULLO, called by the defendant for examination
pursuant to notice and pursuant to the Rules of Civil 2 0
Procedure for the United States District Courts 2 ]_
pertaining to the taking of depositions, taken before
Amy M. Spee, a notary public within and for the 2 2
County of Cook and State of Illinois, at 70 West 2 3 ._
Madison Street, 55th Floor, Chicago, Illinois, on the §§
7ch day of october 2011. 2 4
Page 2 Page 4~l
1 APPEARANCES: 1 (Whereupon, Manzullo Deposition
2 W§%§?§OIY§§IY§§’O!¥ 2 Group Exhibit No. l was marked y
3 71 S`Outh Wa'cker Drive 3 for identification, as of this vi
Chicago, Illinois 60606-4673 4 date.)
4 §31}12%7(;1-8680 b 5 (Witness sworn.)
5 lgforot§e€?)::;§;fsr;°wn`com 6 MR. B'R-UCE: Let the record reflect that this is
6 POWER, ROGERS & SMITH, P_C_, by 7 the deposrtlon of Congressman Donald Manzullo taken 2
%RWDE\I<AOT; C- BSRUCE 8 pursuant to the Federal Rules of Civil Procedure and
7 est a lson treet . .
55th Floor 9 contlnued by the partles. `
8 Chicago, minois 60602 l 0 CONGRESSMAN DONALD MANZULLO, ;
(312) 236-9381 1 1 called as a witness herein, having been first duly '
9 dbru°e@prslaw'°°m 12 sworn, was examined and testified as follows:
for the defendants
10 13 EXAMINATION
11 14 BY
:1 § 15 MR. BRUCE:
14 16 Q Congressman, could you please state your
15 17 first and last name and spell your last name for the
16 1 8 record.
§§ 1 9 A It's Donald; last name is spelled
l 9 2 0 M-a-n-z-u-l-l-o.
2 0 2 1 Q Congressman Manzullo, I know you've got a
§ § 2 2 legal background
2 3 2 3 Had you taken a number of depositions
EXH|BIT

24

 

 

 

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over the years when you were in private practice?

 

 

 

 

1 (Pages 1 to 4)

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Q Okay. Have you read any public comments

  

Page 5 Page 7 a
1 A Yes. 1 that have been made by his spokesperson or his
2 Q Okay. You know the ground rules upon how a 2 campaign that he's going to be running against you in
3 deposition is conducted? 3 the congressional district tha --
4 A Yes. 4 A I didn't know that anybody had --
5 Q l'll just go right to your background 5 MS. LIGHTFOOT: Congressman, I‘m going to
6 And where do you currently reside? 6 caution you -- I know you're anxious to probably give
7 A I live on a farm outside of Egan. That‘s 7 your answer, but just give me a moment before you
8 between Byron and Leaf` River in Ogle County. 8 answer.
9 Q And that's currently in what congressional 9 I'm going to object on relevance
1 0 district? 10 grounds and l apologize for interrupting you.
11 A It's always been in the l6th. 11 Go ahead, please
12 Q And do you have any plans on moving from 12 THE WITNESS: Pardon?
13 that address anytime in the next year? 13 BY MR. BRUCE:
14 A No. 14 Q Let me reask the question
15 Q l saw today on your Web sit -- your 15 A Okay.
16 campaign Web site that you are or someone on your 16 Q I'mjust trying to find out if you're aware
1 7 behalf is passing petitions or collecting petitions; 17 if anyone on Congressman Kinzinger's staff has made
18 is that true? 18 any comments to the press about Congressman Kinzinge
1 9 A Yes. 1 9 running against you in the primary in the next
2 O Q And can you explain that. 2 0 congressional election?
21 A Yeah. We were instructed by the Courts, 2 1 MS. LIGHTFOOT: Objection. Relevance.
2 2 when we had originally requested, that passing 22 Go ahead.
23 petitions be delayed until the final map was done, to 23 THE WITNESS: His words are very careful as
24 pass petitions of` the areas that are, quote, terminus 24 ours are. And that is, every Republican incumbent is
Page 6 Page 8
1 with the present congressional district and the 1 running for reelection, but we don't exactly know the
2 Democratic map. 2 boundaries that are involved.
3 Q When you say "Democratic map," are you 3 BY MR. BRUCE:
4 referring to the map that was passed by both Houses 4 Q Are you going to run for reelection?
5 of the lllinois legislature and signed by the 5 A Yes.
6 Governor? 6 Q In what district?
7 A That's correct So it's just in four 7 MS. LIGHTFOOT: Objection.
8 counties We've been passing those. 8 Go ahead. You can go ahead.
9 Q I saw that Congressman Kinzinger is going 9 THE WITNESS: I'm running in the area where
1 0 to have an announcement tomorrow. 10 I've always lived, that's the 16th District.
1 1 Did you -- l take it you're aware of 11 BY MR. BRUCE:
12 that? 12 Q Okay. If the map that was passed into law
13 MS. LIGHTFOOT: Objection. Relevance. 13 in Springfield passes and stands and is not changed
14 BY MR. BRUCE: 14 by the Couits, which congressional district would you
15 Q Go ahead. 15 run in?
16 MS. LIGHTFOOT: You can -- 16 MS. LIGHTFOOT: Objection. Calls for
17 THE WITNESS: May l answer? 17 speculation
1 8 MS. LIGHTFOOT: Yes. 1 8 Go ahead.
19 THE WITNESS: Yeah, he's announcing that he's 19 THE WITNESS: You mean the number?
2 0 running ~- he's announcing in LaSalle County only 20 BY MR. BRUCE:
2 1 and saying that he's running for reelection, but he's 2 1 Q Yes.
22 waiting for the exact boundaries to be determined 22 A The 16th
2 3 BY MR. BRUCE: 2 3 Q Okay. And is it your understanding that

Congressman Kinzinger is announcing tomorrow that h

  

2 (Pages 5 to 8)

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1 is running in the 16th Congressional District that 1 A No.
2 was passed in Springfield in the event that there is 2 Q Did you ever speak to any Democratic United
3 no change in the map that was passed into law? 3 States congressman about the redistricting here in
4 MS. LIGHTFOOT: ijection. Form. Relevance. 4 Illinois?
5 THE WITNESS: I don't know what he's going to 5 MS. LIGHTFOOT: Objection. Form.
6 say. 6 THE WITNESS: Well, we were all talking on the
7 BY MR. BRUCE: 7 floor.
8 Q Okay. Have you spoken to him about it? 8 BY MR. BRUCE:
9 A No. 9 Q Okay. What I'm asking you for is any
1 0 MS. LIGHTFOOT: Objection. Relevance. 1 0 specific recollection of a specific conversation that
11 BY MR. BRUCE: 1 1 you had with any Democratic United States congressman
12 Q In your legal practice, did you have any 12 or congresswoman.
13 dealings in the redistricting process when you were a 13 A Imean, everybody's upset with this map and
14 practicing attorney? 14 we all talk to each other about how bad it is
15 A No. 15 Q Did you talk to any Democratic United
16 Q And forgive me, Congressman, l forget your 16 States congressmen or congresswomen that said how bad
1 7 elected official background 17 it was?
1 8 Were you in the state legislature at 1 8 A I probably did, but I can't give you time
19 some point in time? 19 and place.
2 0 A The first office I ever held is that of a 2 0 Q Could you tell me the name of any of the
2 1 U.S. congressman 2 1 Democratic U.S. congressmen or congresswomen that yo
2 2 Q And what documents did you review to 2 2 spoke to that said it was a bad map?
2 3 prepare for your deposition? 2 3 A Yeah, l probably spoke to all of them. I
24 A What documents? 24 mean, we -- this is a close Illinois delegation
Page 10 Page 12
1 Q Yes, sir. 1 We're always talking about maps
2 MS. LIGHTFOOT: Objection. Foundation. 2 Q Okay. I'm asking you more kind of a
3 Relevance. 3 specific question
4 THE WITNESS: Well, the complaint 4 I'm simply trying to ascertain, can
5 BY MR. BRUCE: 5 you tell me the names of any Democratic United States
6 Q Okay. 6 congressmen or congresswomen who have told you tha
7 A The motion for preliminary injunction and 7 the map was bad or made any comment about the map?
8 the maps, of course. 8 MS. LIGHTFOOT: Objection. Forrn.
9 Q Anything else? 9 BY MR. BRUCE:
10 A I don't ~- no, no other documents I don't 10 Q Any Democrats.
11 know of any other documents 11 MS. LIGHTFOOT: Objection. Form.
12 Q Congressman, with respect to the map 12 THE WlTNESS: You mean, have talked to me
13 redistricting process that ensued in Springfield, 13 personally about it?
14 during that process did you speak to any Illinois 14 BY MR. BRUCE:
15 state legislators about the redistricting process? 15 Q Yes, sir.
16 MS. LIGHTFOOT: Objection. Form. Time frame. 16 A l -- l mean, l can't remember specifically
l 7 THE WITNESS: No. 1 7 It's just ~~
18 BY MR. BRUCE: 18 Q That's fine.
19 Q You never spoke to any state legislators 1 9 MS. LIGHTFOOT: I think what he's asking you is
2 0 about the map process; is that correct? 2 O not at this point do you remember any specific
2 1 A That's correct 2 1 conversations l think what he's just simply asking
22 Q Did you ever at any time speak to 22 you is, do you remember actually having such a
2 3 Illinois -- any Illinois state legislative staff 2 3 conversation with any Democrat in Congress about the
members about the redistricting process? Illinois redistricting process

    
   
   
   
  
   
  
  
  
  
  
   
   
  
      
  

   

  

3 (Pages 9 to 12)

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1 So he'll get to asking you if -~ 1 about the map that you can recall?
2 THE WITNESS: Well, in particular is Jerry 2 A It's -- you know, when you're on the floor
3 Costello. 3 of the House and you watch C-SPAN, everybody's
4 BY MR. BRUCE: 4 talking, well, that's ~- that's where the
5 Q Jerry -- 5 conversations take place and you have snippets of
6 A He‘s -- 6 conversations with various members of the delegation
7 Q Go ahead 7 And, obviously, you know, we've talked
8 A Well, he's not been satisfied with the 8 about the map in general; but I don't know of anybody
9 whole process at all. 9 who's been more ~- more particular and more upset
1 0 Q Okay. 1 0 than Jerry Costello.
11 A He said the whole thing was unfair and 11 Q All right. So as you sit here today,
12 Republicans were shut out. Maybe not in those terms, 12 that's the one specific conversation that you can
13 but he -- l mean, l specifically recall that 13 recall?
14 conversation He does not like the process doesn't 14 A l think that's correct
15 like the map. 15 Q All right. Any others come to mind before
16 Q When did that conversation take place? 16 l move on from this topic?
1 7 A It was before the official map came out, 17 A I don't -- I don't think so.
18 which was Memorial Day weekend That's when the 18 Q Okay. Congressman, did you take any role
19 state legislature passed. 19 in the drawing of the map that was passed into law in
2 0 Q And was that a conversation you had in 2 0 Springfield?
2 1 person or over the phone? 2 1 A No, we were all shut out.
2 2 A No, it would be in person 22 Q Okay. Do you know who drew the map?
2 3 Q Where? 23 A The Democrats did.
24 A Probably on the floor of the House. 24 Q Do you know -- I didn't ask you a partisan
Page 14 Page 16
1 Q You're couching your answers "probably." 1 circumstance
2 Do you have a recollection of the 2 I'm asking you --
3 conversation? 3 MS. LIGHTFOOT: It's a fair response to the
4 A I do. 4 question
5 Q Okay. So -- 5 MR. BRUCE: I think that's MS. Lightfoot's stab
6 A l do. 6 at levity.
7 Q -- who was a participant to that 7 BY MR. BRUCE:
8 conversation? 8 Q Congressman --
9 A lt was Jerry Costello and I, obviously. I 9 MS. LIGHTFOGT: Indeed.
l 0 don't know who else was around And it was in 10 BY MR. BRUCE:
11 that -- just in the Spring, that's about the best I 11 Q Congressman I'm trying to ascertain from
12 can say, and it was on the floor of the House. 12 you, do you know the names of the individuals that
13 Q And have you told me everything that you 13 actually drew the lines on the map?
14 can recall about that conversation? 14 A No.
15 A Jerry did not like the Way it was 15 Q Do you know the intent of any of the
16 proceeding l mean, I can't give you what he 16 unidentified people who drew the lines on the map?
17 specifically said, And he just -- he just did not 17 MS. LIGHTFGOT: I'm going to object to the form
1 8 like the way things were going. 18 of the question to the extent that it calls for the
19 Q You don't remember the exact words he used; 19 witness to render a legal opinion about intent.
2 0 is that correct? 2 0 But you may answer.
21 A Well, he was upset; but I can't -- I can't 21 THE WITNESS: I don't know who these people ar
22 give you the exact words, just the paraphrase of it. 22 and l ~- and how can l ask a question as to what
23 Q Is that the only conversation that you had 23 their intent is?
24 with any Democratic congressman or congresswoman

   
  
  
   
   
  
   
   
  
  
    
  
   
  
   
    
   

 

  

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4 (Pages 13 to 16)

 

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1 BY MR. BRUCE: 1 Latino areas l know where the Asians live. And the
2 Q ls it fair to say -- 2 map divides and segregates those minorities from the
3 A Because the intent is obvious and that's 3 whites in Rockford.
4 to redraft the districts to the point where five or 4 Q Are you finished with your answer?
5 six members of-- Republican members of the House 5 A Pardon?
6 would have very difficult districts. 6 Q Are you finished with your answer?
7 Q The opinion you have just expressed is 7 A 1 don't know What more you want except
8 based upon a review of the map that was passed? 8 it’s -- it's bad
9 A Yeah. 9 Q Okay.
1 0 Q Okay. ln terms of any firsthand knowledge 1 0 A l -- l’ve lived there all my life.
1 1 about what the intent or the factors were that the 1 1 Rockford has come through a horrible lawsuit based on
12 map drawers knew, is it fair to say you don't have 12 racial discrimination of the schools And West High
13 any firsthand knowledge of that? 13 School was closed and the school district has been
14 A l have no first- -- 14 under desegregation order for a long time. And what
15 MS. LlGHTFOOT: Just a minute 15 this map does it deprives me of having the
16 THE WITNESS: I'm sorry. 1 6 opportunity to represent these minorities which we
1 7 MS. LIGHTFOOT: Object to the form and to the 1 7 have for 18 years
1 8 extent that it calls for the witness to render a 1 8 Our biggest casework is immigration
1 9 legal opinion 1 9 And we work with hundreds of families the Asian
2 0 THE WITNESS: 1 have no firsthand knowledge 2 0 families that come in, the Latino families And
2 1 because we were never consulted the Republicans were 2 1 Rockford is -- it's one city. The people on the --
2 2 never consulted 2 2 the Caucasians on the -- the Caucasians that live on
2 3 BY MR. BRUCE: 2 3 the East Side of the city work very closely with the
24 Q Has anyone ever told you at any time that 24 minorities in order to resurrect the city that leads
Page 18 Page 2 0
1 the congressional district lines in any congressional 1 the nation in unemployment
2 district in Illinois were drawn to intentionally 2 And for our office to tell all these
3 discriminate against Latinos? 3 people with whom we've worked for 18 years that we
4 MS. LIGHTFOOT: And, Congressman let me just 4 can't help them in their housing problems in their
5 caution you. To the extent that you can answer that 5 poverty problems in their immigration problems
6 question on the basis of your own independent 6 that's nothing less than cruel to them because you
7 knowledge, feel free to do so; but if the only basis 7 cannot separate that community just as you can't
8 of your knowledge is information that was shared in 8 separate a family, especially Rockford that has had
9 the context of a privileged communication then I'm 9 so many problems
10 going to ask you not to answer. But... 1 0 And that's what's so upsetting about
11 THE WITNESS: I can give firsthand knowledge, 11 the way that map is drawn lt makes the minorities
12 l was born and raised in Rockford. l'm 67 years old. 12 on the West Side of Rockford nothing but an appendage§
13 The way the map was drawn divides and segregates the 13 to a new district that's formed to the west. And a
14 white community in Rockford from the Latinos, the 14 member of Congress is forbidden by law to represent
15 African-Americans, the Thais, the Vietnarnese, the 15 people who are not in its congressional district.
16 Cambodians and the Burmese by roughly going down the 1 6 And l would have to ignore those people and they
1 7 Rock River on the West Side and then reaching into 1 7 can't take that.
18 the East Side and purposely grabbing those areas l 8 MR. BRUCE: Move to strike.
1 9 Where Latinos and Africans live. 1 9 BY MR. BRUCE:
2 0 BY MR. BRUCE: 2 0 Q Congressman, the two congressional
2 1 Q Do you have any other independent knowledge 2 1 districts that were passed into law in Springfield,
2 2 that -~ 2 2 as l understand it, it's your claim that Rockford is
2 3 A I have firsthand knowledge I know where 2 3 divided into two different congressional districts
as. l know 24 is that true?

   
   
   
   
  
   
   
   
  
  
  
  
  
  
  
 

 

5 (Pages 17 to 20)

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Page 21 Page 23
1 A It's not my claim. That's What the map 1 Q -- as Exhibit 2‘?
2 shows 2 A 1 do.
3 Q My statement is true? 3 Q My question before we got off on a side
4 A Your statement is true. lt is divided into 4 note was l'm trying to understand from you, do you
5 two congressional districts that's correct 5 have any knowledge as you sit here today as to what
6 Q Okay. And that's -- 6 the Latino voting age population is in the 16th
7 A And it's never been divided since 1850. 7 Congressional District?
8 MR. BRUCE: Move to strike. 8 A You mean the whole new one?
9 BY MR. BRUCE: 9 Q Yes Congressman
10 Q Congressman the two congressional 10 A No, butl could tell you what it is in
1 1 districts that were passed into law that Rockford was 11 Rockford.
12 divided into is the 16th and 17th Congressional 12 Q Okay.
13 Districts; is that correct? 13 A All the Latinos were put into the 17th
14 A That's correct. 14 District.
15 Q All right. And tell me, what is the Latino 15 MR. BRUCE: Move to strike.
16 voting age population in the newly passed 16th 1 6 BY MR. BRUCE:
17 Congressional District? 17 Q I'm asking you -- just listen to my
18 A Probably -- 18 question l'm asking.
1 9 MS. LIGHTFOOT: Object -- 1 9 MS. LlGI-ITFOOT: Mr. Bruce, l think he's trying
2 0 THE WITNESS: Sorry. 2 0 to answer your question
2 1 MS. LIGHTFOOT: Object to the form. 2 1 MR. BRUCE: No, he's not.
2 2 Go ahead 2 2 MS. LIGHTFOOT: Well, let me just finish,
2 3 THE WITNESS: l can't tell you that, but the 2 3 please
2 4 Latinos live in the appendage of Rockford that's at 24 He‘s trying to answer your questions
Page 22 Page 24
1 the tip of the 17th District. 1 as best as possible You clearly don't like his
2 BY MR. BRUCE: 2 answer which you moved to strike, but Congressman
3 Q Okay. And I'm going to ask you that 3 Manzullo is answering the questions that you are
4 question next. 4 asking to the best of his ability.
5 But for purposes of the newly passed 5 MR. BRUCE: Okay. His answer are
6 16th Congressional District, as you sit here today -- 6 nonresponsive
7 MS. LlGHTFGOT: Are you talking about 16th or 7 MS. LIGHTFOOT: l disagree with that.
8 l7th‘.7 8 MR. BRUCE: l understand that you do, but we
9 THE WITNESS: There is a map that shows what 9 will get an answer to the question that I asked or
1 O percentage of Latinos arc in there. There's a 1 0 we'll be here all afternoon
1 1 demographic breakdown but I don't have that here. 11 MS. LIGHTFOOT: Well, we may be here all
12 BY MR. BRUCE: 12 afternoon if you're going to try to mischaracterize
13 Q Okay. Let's just -- 13 and to try to bully him into giving you an answer
14 MS. LIGHTFOOT: Counsel will provide that to 14 that you want --
1 5 you. l 5 MR. BRUCE: Okay.
16 BY MR. BRUCE: 16 MS. LIGHTFOOT: -- as opposed to an answer that
17 Q Okay. l think We're all getting far 17 he has honestly and straightforward given to you.
18 afield And we just -- if you can just listen to my 18 MR. BRUCE: Okay.
19 question, we'll get through here faster. 19 BY MR. BRUCE:
2 0 l am talking about the congressional 2 0 Q Congressman am l correct that as you sit
2 1 district map that was passed into law in Springfield. 2 1 here today, you don't know what the Latino voting age
2 2 And do you have that in front of you 22 population is in the newly passed 16th Congressional
2 3 marked -- 2 3 District?

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A Yes, l do.

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MS.LIGHTFOOT: Objection. Form.

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6 (Pages 21 to 24)

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Page 25 Page 2 7
1 THE WITNESS: All l could tell you is there are 1 of the exhibits that we have in of front of you, is
2 Latinos that live in Belvidere in Boone County, but 2 that the demographic information that you're
3 nowhere near the number that live in the Rockford 3 referring to?
4 area. And the rest of the area is all farmland and 4 A No. You were talking about the demographic
5 so you don't find a heavy Latino population in 5 breakdown as to the present 16th.
6 farmland 6 Q Yes.
7 BY MR. BRUCE: 7 A And l had made the mistake that l thought
8 Q Do you have any knowledge as to the 8 that that was included on this exhibit, which it's
9 percentages of the 16th Congressional District as to 9 not.
1 0 the Latino voting age population? 1 0 Q That's correct
11 A It's -- it was attached as an exhibit to 1 1 A Yeah. '
12 the fair map that's part of the motion for 1 2 Q So as you sit here today, do you know what
13 preliminary injunction 13 the Latino voting age population percentage is in
14 Q Okay. 14 your current district?
15 A It's a demographic breakdown in there -- l 15 A No, l don’t.
16 think that's where it is ~~ but l couldn't recite to 1 6 Q Okay. And l don't want you to guess
17 you what those figures are 1 7 A Okay.
18 Q All right. As you sit here today, do you 1 8 Q Would you have any estimate? ls it 5
19 know what the Latino voting age population percentage 1 9 percent? ls it 50 percent? ls it 30 percent? Or do
2 0 is in the newly passed 17th Congressional District? 2 0 you have any idea?
21 A No. 2 1 A l don't know,
22 Q Okay. Now -- 22 MS. LIGHTFOOT: Don't guess With any
2 3 A But that's also in that appendage -~ or not 2 3 question, don't guess
2 4 appendage, attachment 2 4
Page 26 Page 28
1 Q Other than -- and -~ strike that. 1 BY MR. BRUCE:
2 Do you -- do you know what the Latino 2 Q And with respect to your current 16th
3 voting age population percentage is currently in your 3 Congressional District, is it your opinion that your j
4 16th Congressional District that you represent? 4 current 16th Congressional District is not a majority
5 A It's on that exhibit l mean, l can't sit 5 Latino voting age population district?
6 here and give you the exact figure l don't know 6 A That's correct
7 that. 7 Q And does your 16th Congressional District
8 Q Okay. ls the exhibit »- 8 divide Rockford?
9 A l think that's it. 9 A Yes.
10 Q Okay. Why don't we take a look at the 10 You mean presently?
11 exhibit that you're referring to. 1 1 Q Yes sir.
12 Is that Exhibit E‘? And that shows the 12 A No. No.
13 demographic data of the Republican map that's being 13 Q Okay. Now, l think we -- l had asked you
14 proffered? 14 if you had any independent or firsthand knowledge
15 MS. LlGHTFOOT: I'm sorry. Which one? Which 15 that the congressional map that was passed
16 exhibit are you referring to, Counsel? 16 intentionally discriminated against Latinos.
l 7 MR. BRUCE: The one he identified which is 1 7 Do you remember that question that l
1a Exhibit E. 18 asked?
1 9 MS. LIGHTFOOT: Could you tell me the tab. 1 9 MS. LIGHTFOOT: He’s just asking if you
2 0 MR. BRUCE: It's 4. 2 0 remember that he asked you this before
21 MS. LIGHTFOOT: l don't have an E. All right. 2 1 THE WITNESS: Oh, l think so, you asked that
2 2 So Tab 4. 2 2 question
2 3 BY MR. BRUCE: 2 3 BY MR. BRUCE:
24 Q Congressman Exhibit E, which is on Tab 4 Q l did. And you provided me an answer and

 

  

 

   

    
  
    
  
  
   
   
    
  
  
   
    
   
  
  

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7 (Pages 25 to 28)

 

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might have engaged in with counsel.

 

1 described in some detail your thoughts about the 1 BY MR. BRUCE:
2 division of Rockford geographically and the 2 Q You can answer the question Congressman
3 separation -- 3 A You're saying did anyone individually --
4 A lt intentionally divides and segregates 4 did any Democrat or anybody who drew the map say th
5 Rockford. 5 they purposely discriminated against the minorities
6 Q Okay. Other than what you -- 6 in Rockford, the answer is "no."
7 MS. LIGHTFOOT: Sir, l don't know that he was 7 Q Now, you say you were shut out of the
8 finished with his answer. 8 process?
9 BY MR. BRUCE: 9 A That's correct.
1 0 Q Were you finished with your answer? 10 Q Did you ever go to any of the Redistricting
11 A No. You can take a look at Rock- -- l 11 Committee hearings?
12 mean, l ~- l was born and raised there and l know 12 A There weren't that many and it was late
13 where the people live All the African-Americans, 13 Q No, that's not my question
14 all the Latinos, the people from Burma, Vietnam, 14 MR. BRUCE: Can l have my question back?
15 Cambodia and Laos are all put together and extracted 15 MS. LIGHTFOOT: That's his answer.
16 out of the city ~~ out of the city of Rockford, 16 MR. BRUCE: No.
1 7 separated from the white people with the map that the 17 THE WITNESS: The answer is "no."
1 8 General Assembly adopted 1 8 BY MR. BRUCE:
19 They have intentionally done that. lf` 19 Q Okay. That's the answer to the question
2 0 you look at the map, it's the pockets of where those 2 0 You never went to any --
21 people live. The city has been shredded ln fact, 21 A That's correct.
2 2 if you look at the appendage, the finger that goes 22 Q ~~ Illinois Redistricting Committee
2 3 out in the new 16th on the East Side -- l'm referring 23 hearings true?
24 to this finger here.~ 24 A That's correct.
Page 3 0 Page 32
1 MS. LIGHTFOGT: Let the record reflect that 1 Q All right. And did you ever even attempt
2 he's referring to a map that is Exhibit 2 to this 2 to do so?
3 deposition. 3 MS. LIGHTFOOT: Obj ect to the form.
4 THE WITNESS: The appendage that goes out, that 4 THE WITNESS: No.
5 goes out and it purposely brings in what minority 5 BY MR. BRUCE:
6 areas there are in the city of Rockford on the East 6 Q Okay. Sir, did you ever at any time send
7 Side and it brings them all the way over to the West 7 anyone on your behalf to express your concerns or
8 Side So it splits Rockford and segregates it. 8 your complaints or your suggestions about how the
9 BY MR. BRUCE: 9 congressional map should look like?
1 0 Q And you never spoke to any of the people 1 0 A We had no idea what the map would look like
1 1 that drew the map as to Why those lines were drawn; 1 1 and it came out just a few hours before it was voted
1 2 is that true? 1 2 on.
13 A l wish l had the opportunity, but no one 13 How could you comment on something
14 asked 14 that you can't see?
15 Q Okay. So you did not speak to them? 15 MR. BRUCE: Can l have my question ~-
16 A That's correct 16 THE WITNESS: l had no idea that this would
17 Q Okay. Now, did anyone ever tell you that 17 ever happen to my district. lt's always been up
18 the reason why the lines are being drawn the way they 18 against the Mississippi River, always gone western to
19 were was to discriminate against minorities? 19 the -- always gone to the east. And Rockford has
2 O A No one ha -- 20 never been divided l had no idea, no inclination
2 1 MS. LIGHTFOOT: Congressman l just want to 2 1 anybody would be that cruel and divide that city.
2 2 caution you that Mr. Bruce is, l don't believe, 22 BY MR. BRUCE:
2 3 asking you for any privileged communications that you 23 Q Have you ever Spoken to the mayor of

    

   
   
    
   
   
    
  
   
   
  
   
  
     
   

Rockford about what -

 

    

8 (Pages 29 to 32)

 

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didn't talk to the lawyers. There were other members

 

1 A Yes. 1 of the delegation that did that. I think it was John
2 Q And what has the mayor of Rockford -- 2 Shimkus -- but I don't know »- because he was sort of
3 A He is absolutely upset over this, He's 3 leading the effort on it.
4 outraged. 4 BY MR. BRUCE:
5 Q So Mayor Morrissey -- 5 Q Okay. And that was done before the map was
6 A Mayor Morrissey is outraged over it because 6 passed, but you don't know when ~-
7 he knows the Work that l have done for that city. 7 MS. LIGHTFOOT: Object- --
8 Q When did Mr. -- Mayor Morrissey tell you 8 BY MR. BRUCE:
9 that he was outraged about the division of Rockford 9 Q -~ you said it's your best recollection?
10 into two Congressional districts? 10 MS. LIGHTFOOT: Objection. Relevance.
11 A Well, it would have been after the map came 11 THE WITNESS: I really don't know if it was
12 out. I can't tell you when and where, but I did 12 before or after. ljust don't know.
13 personally talk to him. He was very upset over it. 13 BY MR. BRUCE:
14 Q Tell me his exact words. 14 Q Can you tell me whether or not there were
15 A I can't remember his exact words -- 1 5 any Republican legislators that were members of the
16 Q Okay. 16 State Senate or State House Redistricting Committees?
17 A -- but he was outraged over it. He was 17 A I don't know.
18 very upset. And so is Scott Christiansen, who lis the 18 Q Okay. Did you ever make any inquiry to try
1 9 chairman of the Illinois County Board. 1 9 and determine that?
2 0 Q Now, l think we digressed. 2 0 A No.
2 1 l simply asked you, did you ever send 2 l Q Okay. Did you ever have anyone in your
2 2 anyone on your behalf to any of the Redistricting 2 2 staff or yourself look on the Internet to determine
2 3 Committee hearings? 2 3 whether or not there were any Web pages for the
24 MS. LIGHTFOOT: And that's been asked and 24 Illinois Senate or Illinois House Redistricting
Page 34 Page 36§
1 answered. l Committees that would accept input as to how the map
2 BY MR. BRUCE: 2 should be drawn?
3 Q Go ahead. You can answer, Congressman. 3 A T he map was drawn by the Democrats. We had
4 A No. 4 no idea what the map would look like until itjust --
5 Q Okay. And when did you first retain 5 until it was voted on by the General Assembly. We
6 counsel to represent you in the redistricting 6 had no reference It came out very -- it came out
7 process? 7 just before they voted on it.
8 MS. LIGHTFOOT: Objection. Relevance. 8 I mean, how can you comment on
9 THE WITNESS: I don't know. 9 something that you can't see? That's been the
1 0 BY MR. BRUCE: 1 0 problem all along.
11 Q Well, was it before or after the map was 11 Q Congressman, can you answer my question,
1 2 passed? 12 which is --
13 MS. LIGHTFGOT: Objection. Relevance. 13 MS. LIGHTFOOT: I think he just did.
14 THE WITNESS: l think it was before, but... 14 MR. BRUCE: No, he didn't.
15 BY MR. BRUCE: 15 MS. LIGHTFOOT: I think he did.
1 6 Q Okay. Do you remember what month it was 16 MR. BRUCE: I’ll move to strike his answer.
1 7 that you hired -~ 1 7 BY MR. BRUCE:
1 8 A I don't know. 1 8 Q I'm asking you, Congressman, did you ever
1 9 MS. LIGHTFOOT: ijection. Relevance. 19 go on the Internet and provide any input through the
2 0 BY MR. BRUCE: 2 0 Internet on the state Redistricting Committee's Web
2 1 Q And which lawyers did you hire? 2 1 sites as to how you think the map should be drawn?
2 2 MS. LIGHTFOOT: Objection. Relevance. 2 2 MS. LIGHTFOOT: Objection. Form. Foundation.
THE WITNESS: l mean, l didn't negotiate -- I 23 Assumes facts not in evidence

      
    
 
   
   
   
  
  
  
    
 

 
   

  

THE WITNESS: I assumed it would be drawn

9 (Pages 33 to 36)

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Page 3 9

 

1 fairly. l guess l was wrong on that assumption 1 BY MR. BRUCE:
2 BY MR. BRUCE: 2 Q Well, you said that a map deal was made --
3 Q Had you ever been through -- strike that. 3 A Yes.
4 You had not been through this 4 Q -- where there was ten Democrats and ten
5 redistricting process at any other time in any other 5 Republicans.
6 role in your life, like as a state legislator or as 6 A That's correct.
7 an attorney or any other manner? 7 MS. LIGHTFO()T: Object to the form of the
8 A Well, redistricted ten years ago, but that 8 question Mischaracterizes his prior testimony.
9 was an agreed-upon map. 9 It's not what you said.
10 Q Did you play any role in the redistricting 10 MR. BRUCE: We‘ll read the record.
1 1 process ten years ago? 11 BY MR. BRUCE:
12 MS. LIGHTFOOT: Objection. Relevance. 12 Q Sir, absent anything that your lawyers have
13 THE WITNESS: Yeah, because the -- both parties 13 told you, do you have any information about the
14 worked together to come up with a fair map. 14 demographics of the map that the Republican
15 BY MR. BRUCE: 15 congressmen are proposing in this lawsuit?
16 Q And what was your involvement in the 16 A The only thing l can tell you is that
1 7 redistricting ten years ago? 17 communities were not divided and counties were kept
18 A Well, we took the ~- 18 intact as much as possible --
19 MS. LIGHTFOOT: The same objection 19 Q That -~
2 0 Go ahead. 20 A ~- who drew --
21 THE WITNESS: We took a look at the state of 21 Q I'm sorry. Go ahead.
2 2 Illinois, saw it was ten and ten And then there 2 2 A That was the whole purpose of the fair map.
2 3 were the -- we'd lose one seat and the members of 23 Q Who drew the map being proffered by the
24 Congress, Denny Hasteit had the lead and he worked 24 Republican congressmen?
Page 38 Page 40
1 with, l think, Jerry Costello. 1 MS. LIGHTFOOT: And let me just caution you, i
2 BY MR. BRUCE: 2 you know the answer to that question, if the answer
3 Q When you say "ten, ten," what are you 3 is based upon information that was provided to you in
4 referring to? 4 the context of a privileged communication I'm going
5 A Well, there were -- we used to have 20 5 to instruct you not to answer.
6 members of Congress and ten years ago we lost -- we 6 THE WITNESS: Do I know who drew the map?
7 lost one back then, we dropped to l9. 7 BY MR. BRUCE:
8 We went from 20 districts to 19 8 Q Yes, sir.
9 districts in the -- in the -- in 2000. 9 A The Republicans drew the map.
1 0 Q l understand 1 0 Q l understand
11 But when you said "ten, ten," are you 11 Can you tell me the names of the
12 referring to ten Democratic and ten Republican 12 Republicans that drew the map?
13 congressmen? 13 MS. LIGHTFOOT: The same admonition
14 A That's correct. 14 THE WITNESS: l had --
15 Q So there was a division among partisan 15 MS. LIGHTFOOT: l think he's asking you if you
16 lines? 16 know or you don't know.
17 MS. LIGHTFOOT: Object to the form of the 17 MR. BRUCE: He's answering the question Don't
1 8 question 1 8 interrupt him.
1 9 BY MR. BRUCE: 1 9 BY MR. BRUCE:
2 0 Q ls that what you're telling me? 2 0 Q Go ahead.
2 1 MS. LIGHTFOOT: Object to the form of the 2 1 A Do I know the names of the people who drew
2 2 question 2 2 the Republican map?
23 THE WITNESS: A division among partisan lines? 23 Q Yes.
24

 

 

  

You mean

 

    
  
    
  
  
   
  
  
  
  
    
  
  
  
   
     
  

    

A l presume they were Republican members of

 

10 (Pages 37 to 40)

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1 Congress, 1 of the Committee are the named plaintiffs on the
2 Q Do you know their names? Do you know who 2 lawsuit or some other different group of people?
3 actually did it? 3 A No, l think they're named plaintiffs
4 MS. LlGHTFOGT: The same admonition 4 Q Okay.
5 THE WITNESS: l don't know. 5 A And l think that's set forth in the
6 BY MR. BRUCE: 6 complaint itself.
7 Q Okay. And in the Republican map that 7 Q Have there been any meetings of the
8 you're proffering in this lawsuit, if that map were 8 Committee?
9 to be passed -- 9 MS. LlGHTFOOT: Object to the form.
1 0 A Mm-hmm. 1 0 Foundation.
11 Q -- would you have a better chance of 11 THE WITNESS: The only meetings have been with
12 winning reelection than in the map that was passed 12 the other Republican members of Congress and our
13 into law in Springfield? 13 attorney.
14 MS. LlGHTFOOT: Object to the form. Relevance. 14 MS. LlGHTFOOT: Listen to his question He's
15 THE WITNESS: The fair map is more Democratic. 15 asking you whether or not you have any knowledge as
1 6 That's ~- the Republican alternative is more 16 to whether or not the Committee has had any meetings
17 Democratic. 1 7 THE WITNESS: l don't know.
1 8 BY MR. BRUCE: 1 8 BY MR. BRUCE:
1 9 Q l think my question was, if the map 19 Q All right. Have you been to any
2 0 that the Republicans are proffering in this lawsuit 2 0 fundraisers for the Committee?
2 1 were to become law and that were the districts -- 2 1 MS. LlGHTFOOT: Objection. Relevance.
22 A Mm-hmm. 2 2 You can answer.
2 3 Q -- is it your understanding that you would 2 3 THE WITNESS: Yes.
24 have a better or worse chance of winning the 16th 24
Page 42 Page 44 b
1 Congressional District than the map that was passed 1 BY MR. BRUCE:
2 into law in Springfield? 2 Q Okay. How many?
3 MS. LlGHTFOOT: Object to the form. Calls for 3 A One.
4 speculation Relevance. 4 MS. LlGHTFOOT: Objection. Relevance.
5 THE WITNESS: l'm going to win in either 5 THE WITNESS: One.
6 district because I've represented most of that area 6 BY MR. BRUCE:
7 for the past 18 years. 7 Q ls that the one that Speaker Boehner was
8 BY MR. BRUCE: 8 at?
9 Q Okay. The Committee for a Fair and 9 A Yes.
1 0 Balanced Map, do you know -- tell me, are you a 1 0 Q Okay. And did you see a number of` your
11 member of that committee or do you know? 1 1 Republican colleagues there?
12 MS. LlGHTFOOT: What do you know‘? Are you a 12 MS. LlGHTFOOT: Objection. Relevance.
13 member of the Committee? 13 And l'm just going to have a standing
14 THE WITNESS: l don't think so. 14 objection as to questions about any fundraising on
15 BY MR. BRUCE: 15 the part of the Committee
16 Q Okay. And who is a member of the 1 6 MR. BRUCE: That's fine
1 7 Committee? 1 7 BY MR. BRUCE:
1 8 A I think the named plaintiffs in this 1 8 Q Go ahead, Congressman
19 lawsuit The complaint l think mentions who the 1 9 A Yeah, l think,
2 0 people are. 2 0 Do you want to know who they were?
21 MS. LlGHTFOOT: That's correct. 2 1 Q lf you can tell me.
22 BY MR. BRUCE: 22 A Randy Hultgren was there. l don't know if
23 Q Okay. What I'm asking you is, in terms of 23 Joe Walsh was there. l think --

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the Committee, is it your understanding the members

 

  
  
    
  
   
  
  
  
  
   
   
   
  
  
    
  

  

MS. LlGHTFOOT: He's just asking you to tell
1 l

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guess or speculate He‘s asking you --

 
 

 

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1 who you remember. 1 THE WITNESS: Okay.
2 THE WITNESS: l think Peter Roskam was there, 2 MS. LlGHTFOOT: -- what your present
3 but l -- it was -- the House was really crowded and 3 recollection is of whatever the ~-
4 it Was very difficult to tell exactly who was there. 4 THE WITNESS: Okay.
5 BY MR. BRUCE: 5 MS. LlGHTFOOT: -- question is.
6 Q Now, was there an invite ~- Was there an 6 THE WITNESS: Okay.
7 invitation to -- for people to come to that House, to 7 MS. LlGHTFOGT: So try to focus on that.
8 that gathering‘? 8 BY MR. BRUCE:
9 MS. LlGHTFOGT: Objection. Relevance. 9 Q Absent any communications that you've had
1 0 THE WITNESS: Yes. 10 with your lawyers, am l correct you have not studied
1 1 BY MR. BRUCE: 11 the Latino voting age population in any of the newly
12 Q And was your name on the invitation? 12 passed Congressional districts?
13 MS. LlGHTFOOT: Objection. Relevance. 13 MS. LlGHTFOOT: Object to the forrn.
14 THE WITNESS: l don't know. l mean, l could 14 THE WITNESS: The exhibit gives the -- the
1 5 check and get back -- l just -- l can't remember. 15 exhibit to the Republican fair map gives the Latinos.
1 6 BY MR. BRUCE: 16 MS. LlGHTFOOT: Can we have that last question
1 7 Q And where was ~- 17 read back.
1 8 A l think it was, but l don't remember. 18 l think he was asking -- you weren't
19 Q Well, where would you check? 19 asking about the fair map, you were asking about the
2 0 A l would have to look at the invitation 2 0 map that was passed?
2 1 Q All right. Would somebody have that in 21 BY MR. BRUCE:
2 2 your office? 22 Q I'm not asking about the Republican map.
2 3 A Yes. 23 l'm asking about the map that was passed into law in
24 Q All right. Now, Congressman, am I correct 24 Springfield.
Page 46 Page 48
1 in assuming that, to your knowledge, there were no 1 Do you want me to have her read it
2 Democratic-elected officials at this Fair and 2 back?
3 Balanced Map fundraiser? 3 A Could you do that?
4 MS. LlGHTFOOT: iject to the form. Calls for 4 Q Okay. Yeah.
5 speculation in light of the witness' prior testimony. 5 (Whereupon, the record was read
6 THE WITNESS: l didn't know most of the people 6 as requested.)
7 there. And so, therefore, it's kind of hard to tell 7 THE WITNESS: The answer is "no."
8 if they're Republican or Democrat. 8 BY MR. BRUCE:
9 BY MR. BRUCE: 9 Q Did you ever see any draft maps for the
10 Q All right. Let me ask you a different 10 Congressional district map that was passed into law
1 1 question 1 1 in Springfield?
12 Can you tell the name of any 12 A No.
13 Democratic-elected official that you saw there? 13 Q And if l understood your previous
14 A l don't think any were there. l mean, l 14 testimony, you, yourself, nor anybody on your behalf
15 don't ~- the answer is "no." 15 submitted a draft proposal to the Illinois
16 MS. LlGHTFOOT: So let me »- hold on one 16 Redistricting Committees?
17 second. 17 A l don't know what other members were doing.
1 8 (Whereupon, a discussion was had 18 MS. LlGHTFOOT: He‘s just asking you what you
1 9 off the record.) 19 did --
2 0 THE WITNESS: l don't know. l don't know if 2 0 THE WITNESS: No, my staff -- no one acting on
2 1 there were any Democratic office holders at that 2 1 my behalf, including myself, ever submitted a map to
2 2 fundraiser. 22 the legislature
23 MS. LlGHTFOOT: Mr. Bruce is not asking you to 23 BY MR. BRUCE:

    
      
   
  
   
   
  
  
    
   
    
   
   
 

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(Pages 45 to 48)

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1 MS. LlGHTFOOT: Were you finished, Congressman? 1 groups.
2 THE WITNESS: l think -- yeah. 2 BY MR. BRUCE:
3 MS. LlGHTFOOT: Okay. 3 Q Okay. Are you aware of any minority groups
4 BY MR. BRUCE: 4 in Rockford that have voiced objections to the newly
5 Q Yeah, l didn't think -- 5 passed congressional map?
6 A Because l never had the opportunity to do 6 MS. LlGHTFOOT: Object to the form.
7 so. 7 THE WITNESS: They don't --
8 Q Well, did you ever pick up the phone and 8 MS. LlGHTFOOT: You're talking about groups a
9 call any of the legislative leaders, Republican or 9 opposed to individuals, correct?
1 0 Democrat, to speak to them about the map-making 1 0 MR. BRUCE: Anybody.
11 process? 11 THE WITNESS: They don't have a voice They
12 A No, we were waiting for a draft of the map 12 don't have groups that get organized and say, This
13 so we could study it. And we were denied an 13 map is fair or unfair. This is an area of intense
14 opportunity to see the map because it was -- it came 14 poverty. People are struggling They don't talk
15 out of the --the map was drawn, and then the 15 about Congressional maps.
16 legislature voted on it within a few hours. So we 16 BY MR. BRUCE:
17 never had a chance to look at it. 1 7 Q So it's your testimony here today that
18 Q Did you ever ask anybody, Hey, can l see 1 8 there‘s no organized community groups for Hispanics
19 the map before it gets disseminated? 19 or Latinos or African-Americans or any of the Asian
2 0 A Personally did I do that? No. 2 0 groups you've identified; is that true?
2 1 Q Okay. Have you made any public comments 2 1 A There is none because l've always
2 2 about your opinions about the Congressional district 2 2 represented them.
2 3 map that was passed into law? 2 3 Q Okay. g
t 24 A Yes. 24 A These have been my constituents §
Page 5 0 Page 52
1 Q Okay. And do you remember what you've said 1 Q So if l looked up in the phone book or on
2 about that map that was passed into law in 2 the lnternet, l would not find any community groups
3 Springfield? 3 in Rockford that represented any of those minority
4 A Well, with regard to -- well, first of all, 4 groups; is that true?
5 Rockford‘s ~- l've said Rockford has never been 5 MS. LlGHTFOOT: Object to the form. Relevance
6 divided since 1850. It's one unit. 6 l think we're now very far afield.
7 Second of all, the 16th District has 7 THE WITNESS: l -- l don't know.
8 always hugged the Wisconsin and -- the Wisconsin 8 BY MR. BRUCE:
9 border and the Mississippi and run straight west. 9 Q Okay. That's all the ~-
1 0 It's always been generally a northwest district. 1 0 A l mean, you probably know better than l do.
11 And, number three, I've been very 1 1 Q l ~~ let me look at my notes. l believe
12 vocal over the fact that it splits Rockford and it's 12 those are all the questions l had, Congressman
1 3 cruel because the way it puts all the minorities into 1 3 Other than anything that your lawyers
14 one web, extracts them from the city of Rockford, and 14 have told you, have you now told me what little you
15 then it divides and segregates the city. 1 5 know about how the map was passed into law in
16 Q Which minority community groups have you 1 6 Springfield?
1 7 spoken to about this? 1 7 MS. LlGHTFOOT: Obj ect to the form.
18 A That was ~- 1 8 THE WITNESS: l don't know any more about how
19 MS. LlGHTFOOT: Object to the form. 1 9 the map was drawn than what I've just mentioned to
2 0 BY MR. BRUCE: 2 0 you during the course of this deposition.
2 1 Q Go ahead. 21 BY MR. BRUCE:
22 MS. LlGHTFOOT: Foundation. Assumes facts not 2 2 Q Do you think that the map that was passed
23 in evidence 23 into law in Springfield is detrimental to Republican
24 THE WITNESS: l haven't spoken to any minority congressmen in lllinois?

 

13 (Pages 49 to 52)

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§»:>

 

1 A Well, yes. 1 Q l understand
2 Q And why do you believe that? 2 Have you seen any announcements,
3 A Well, the way it's gerrymandered. l mean, 3 Congressman, that Congressman Walsh was going to run
4 it takes the l6th, it dumps a lot of Republicans into 4 against Congressman Hultgren?
5 the new l6th. lt extracts Republicans out of other 5 MS. LlGHTFOOT: Objection. Relevance.
6 areas to make them less Republican 6 THE WITNESS: You will have to talk to those
7 ln fact, one of the stats l saw is the 7 two.
8 present D's, Democrats, represent about 80 percent of 8 BY MR. BRUCE:
9 their constituents; and the Republicans represent 9 Q Well, l mean, have you seen anything in the
1 0 about 30 percent of their constituents in the new 10 press about that?
11 map. 11 MS. LlGHTFOOT: Objection. Relevance.
12 Q Are you talking about in just the 16th 12 THE WITNESS: They're actually campaigning in a
13 District? 13 good part of the area that l presently represent, and
14 A No, the entire state 14 that's most ochHenry County.
15 Q Okay. Can you explain what you mean by 15 BY MR. BRUCE:
16 that. 16 Q Do you have any idea as you sit here today
17 A Well, yeah, it dilutes the Republican 17 as to who your general election opponent would be in
18 influence in most the Congressional districts. lt 18 the 16th Congressional District that was passed into
19 packs Republicans into the new l6th. lt ~~ 19 Springfield, if that's the district you ultimately
2 0 MS. LlGHTFOOT: You have it upside down 2 0 run in?
2 1 THE WITNESS: Yeah, in the new 16th ~- l don't 2 1 MS. LlGHTFOOT: Objection to form and
2 2 have the stat here, but the existing Democrat members 22 relevance
2 3 end up representing about 75 to 80 percent of their 2 3 THE WITNESS: To who the Democrat Would be?
24 present district -~ districts. The existing 24 No.
Page 54 Page 56
1 Republican members would end up representing about 30 1 BY MR. BRUCE:
2 to 34 percent of their existing constituents 2 Q Do you think -- well, strike that.
3 BY MR. BRUCE: 3 Am l correct in characterizing your
4 Q Is it your understanding that the newly 4 opinion with respect to the newly passed
5 passed Congressional district map will pit some 5 Congressional district map that it was genymandered
6 Republican congressmen against others? 6 for political purposes?
7 MS. LlGHTFOOT: Object to the form. Calls for 7 MS. LlGHTFOOT: Objection to form.
8 speculation 8 THE WITNESS: l think that's a great and
9 THE WITNESS: The 16th District got chopped 9 scholarly inclination
10 into ~- one, two, three, four -- four or five pieces. 1 O MS. LlGHTFOOT: In addition to all the other
11 That's the district l've represented lt goes 11 testimony.
12 through four Congressional districts that I think -- 12 THE WITNESS: "Political" meaning racial, if
13 four that are held by Republicans 13 that's what you mean by "political."
14 BY MR. BRUCE: 14 MR. BRUCE: Thank you, Congressman That's all
15 Q Are you aware of any incumbent Republican 15 of the questions l have Thank you for your time.
16 congressmen that have publicly announced that they're 16 MS. LlGHTFOOT: We will reserve signature
17 going to be running against some other Republican 17 FURTHER DEPONENT SAITH NAUGHT. . .
1 8 candidate? 1 8
19 MS. LlGHTFOOT: Objection. Relevance. 19
2 0 THE WITNESS: I -- people say stuff -~ 2 0
2 1 BY MR. BRUCE: 2 l
22 Q Sme. 22
2 3 A -- and I'm not going to try to interpret 2 3
what the politicians say.

      
     
   
  
    
   
  
    
 
  
   
  
  
    

14 (Pages 53 to 56)

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1 iN THE UNlTED sTATEs DIsTRlCr CoURT 1 attorney for the defendants
NORTHERN DISTRICT OF ILLINOIS 2 l further certify that l am not a relative
2 EASTERN DlVlSION
3 COMMITFEE FOR A FAIR AND ) 3 or employee or attorney or counsel of any of the
BALANCED MAP, et al., ) 4 parties, or a relative or employee of such attorney
4 § _ ) 5 or counsel, or financially interested directly or
Plamt‘ffs’ ) 6 indirectly in this action
5 ) .
VS. )NO_ 1:11_€\]_050065 7 In witness whereof, l have hereunto set my
6 ) 8 hand and affixed my seal of office, at Chicago,
ILLINOIS STATE BOARD OF ) 9 Illinois, this day Of` 2011.
7 ELECTIONS, et al., ) l 0
)
8 Defendants. ) ll
9 This is to certify that l have read the 12
1 0 transcript of my deposition taken on the 7th day of 13
11 October 2011 in the foregoing cause, and that the . . .
12 foregoing transcript accurately states the questions 14 NOtary_Pubhc’ Cook County> mmOlS
13 asked and answers given by me, with the changes or CSR LlCenSe NO. 084-004559
14 corrections, if any, made on the Errata Sheet(s) 1 5
§§ attached heret°‘ 16 My commission expires May 3 lst, 2012.
17 17
1 8 1 8
1 9 DONALD MANZULLO l 9
2 0 Subscribed and sworn to 2 0
before me this day
21 of 2011. 21
2 2 2 2
Notary Public 2 3
23
2 4 2 4
Page 58
1 STATE OF ILLINOIS )
) SS:
2 COUNTY OF COOK )
3 I, Amy M. Spee, a notary public in and for
4 the County of Cook and State of Illinois, do hereby
5 certify that DONALD MANZULLO was first duly sworn to
6 testify the whole truth, and that the above
7 deposition was recorded stenographically by me and
8 was reduced to computerized transcript under my
9 personal direction
10 l further certify that the said deposition
11 shall be examined and read over by said deponent and
12 shall be signed by him and that the said deposition
13 constitutes a true record of the testimony given by
14 the said witness.
15 l further certify that the said deposition
16 was taken at the time and place specified and that
17 the taking of said deposition commenced on the 7th
18 day of October 2010 and was completed the same day.
1 9 l further certify that Ms. Lori E.
2 0 Lightfoot, of the firm of Mayer Brown, of 71 South
2 1 Wacker Drive, Chicago, Illinois, appeared as attorney
2 2 for the plaintiffs; that Mr. Devon C. Bruce, of the
2 3 firm of` Power, Rogers & Smith, P.C., 70 West Madison
24 Street, 55th Floor, Chicago, Illinois, appeared as

  
  
  
  
   
  
  
  
  
  
  
  
  
  
  

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(Pages 57 to 59)

